      Case 3:22-cr-00009-CAR-CHW Document 179 Filed 07/08/22 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ATHENS DIVISION

UNITED STATES OF AMERICA                   :
                                           :
        v.                                 :
                                           :      No. 3:22-CR-09-CAR-CHW-12
WILLIAM TURNEY,                            :
                                           :
        Defendant.                         :
                                           :

                ORDER ON UNOPPOSED MOTION TO CONTINUE

       Before the Court is Defendant William Turney’s Unopposed Motion to Continue

[Doc. 178] of the pretrial hearing in this case presently scheduled for July 21, 2022, and the

trial, which is set to begin on August 8, 2022, in Athens, Georgia. On April 12, 2022, the

Grand Jury returned a multi-count, multi-defendant indictment charging Defendant with

conspiracy to possess with intent to distribute methamphetamine and possession with

intent to distribute methamphetamine. On June 8, 2022, Defendant was arrested. On June

14, 2022, Defendant was appointed counsel, pled not guilty at his arraignment, and was

detained pending trial.

       In the Motion, defense counsel represents that additional time is needed to review

discovery and to engage in plea negotiations. Having considered the matter, the Court finds

it serves the ends of justice to grant Defendant’s motion. The ends of justice served by

granting a continuance outweigh the interests of Defendant and the public in a speedy trial.

Failure to grant a continuance would deny counsel reasonable time for effective preparation

and could result in a miscarriage of justice. Thus, Defendant’s Unopposed Motion to
      Case 3:22-cr-00009-CAR-CHW Document 179 Filed 07/08/22 Page 2 of 2




Continue [Doc. 178] is GRANTED, and IT IS HEREBY ORDERED that this case be

continued until the October 24, 2022 term of Court for the Athens Division. The delay

occasioned by this continuance shall be deemed excludable pursuant to the provisions of

the Speedy Trial Act, 18 U.S.C. § 3161.

       SO ORDERED, this 8th day of July, 2022.

                                          s/ C. Ashley Royal______________
                                          C. ASHLEY ROYAL, SENIOR JUDGE
                                          UNITED STATES DISTRICT COURT
